                      IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF KANSAS

In re:

MARK HAROLD ENGEN
MAUREEN ELIZABETH ENGEN                                           Case No. 15-20184-rdb-13

             Debtor(s)

            APPLICATION FOR COMPENSATION PURSUANT TO §503(b)

   COMES NOW, David A. Reed, counsel for Debtors, and moves the Court for an Order

granting compensation pursuant to §503(b) of Title 11 from funds currently on hand with the

Chapter 13 Trustee;

   WHEREFORE, counsel states that:

   1. Post-confirmation fees of $300.00 were incurred for a motion to incur debt to finance the

purchase of a replacement motor vehicle.

   WHEREFORE Counsel requests an award of $300.00 for post-confirmation fees to be paid

from plan payments.


__/s/ David A. Reed________
David A. Reed #14581 KS
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                               CERTIFICATE OF SERVICE

   I certify that I mailed copy of the foregoing, postage prepaid, to Mark and Maureen Engen,
7905 W 96th St, Overland Park, KS 66212 on 8 January 2019.

/s/ David A. Reed_________________
David A. Reed #14581 KS




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